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 1
                               UNITED STATES DISTRICT COURT
 2
                              SOUTHERN DISTRICT OF CALIFORNIA
 3

 4
     UNITED STATES OF AMERICA,               ) Case No.: 21 CR 2456-JLS
 5                                           )
                 Plaintiff,                  )
 6                                           ) ORDER
           vs.                               )
 7                                           )
     JULIO CESAR HERNANDEZ-JIMENEZ           )
 8                                           )
                 Defendant                   )
 9                                           )
10
           Pursuant to joint motion and good cause appearing,
11
           IT IS HEREBY ORDERED that Defendant JULIO CESAR HERNANDEZ
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13
     JIMENEZ’ motion hearing/ trial setting be continued from October 1, 2021, at

14
     1:30 p.m. to November 12, 2021, at 1:30 p.m.

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           For the reasons set forth in the joint motion, the Court finds that the ends of

16   justice will be served by granting the requested continuance, and these outweigh
17   the interests of the public and the defendant in a speedy trial. Accordingly, the
18   delay occasioned by this continuance is excludable pursuant to 18 U.S.C. §
19   3161(h)(7)(A).
20         IT IS SO ORDERED.
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     Dated: September 29, 2021
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